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B 2100A (Form 2100A) (12/15)



                         UNITED STATES BANKRUPTCY COURT
                                                   District
                                            __________      of Delaware
                                                         District Of __________

In re ________________________________,
      Vitamin World, Inc., et al.                                                                 Case No. ________________
                                                                                                            17-11933




                    TRANSFER OF CLAIM OTHER THAN FOR SECURITY
A CLAIM HAS BEEN FILED IN THIS CASE or deemed filed under 11 U.S.C. § 1111(a). Transferee
hereby gives evidence and notice pursuant to Rule 3001(e)(2), Fed. R. Bankr. P., of the transfer, other
than for security, of the claim referenced in this evidence and notice.



  Winland Credit Partners LLC
______________________________________                                       Scott Taylor
                                                                            ____________________________________
          Name of Transferee                                                           Name of Transferor

Name and Address where notices to transferee                                Court Claim # (if known):     738
should be sent:                                                             Amount of Claim:        $1,120.00
  228 Park Ave S #63787                                                     Date Claim Filed:      11/20/2017
  New York, New York 10003-1502

         646-678-2922
Phone: ______________________________                                       Phone:
Last Four Digits of Acct #: ______________                                  Last Four Digits of Acct. #: __________

Name and Address where transferee payments
should be sent (if different from above):
  228 Park Ave S #63787
  New York, New York 10003-1502

Phone: 646-678-2922
Last Four Digits of Acct #:



I declare under penalty of perjury that the information provided in this notice is true and correct to the
best of my knowledge and belief.

By:__________________________________                                       Date:____________________________
                                                                                  03/23/2018
       Transferee/Transferee’s Agent


Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 & 3571.
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                                EVIDENCE OF TRANSFER OF CLAIM

TO THE DEBTOR AND THE BANKRUPTCY COURT:

         For value received, the sufficiency of which is hereby acknowledged, Scott Taylor (“Seller”)
hereby unconditionally and irrevocably sells, transfers, and assigns to Winland Credit Partners LLC
(“Purchaser”) all of Seller’s right, title, and interest in and to Proof of Claim No. 738 (the “Proof of Claim”)
filed against Vitamin World, Inc. (the “Debtor”) in the amount of $1,120.00 in In re Vitamin World, Inc.
(Case No. 17-11933) pending in the United States Bankruptcy Court for the District of Delaware (the
“Bankruptcy Court”).

         Seller hereby waives any objection to the transfer of the Proof of Claim on the books and records
of the Debtor and the Bankruptcy Court, and hereby waives any notice or right to a hearing as may be
imposed by Federal Rule of Bankruptcy Procedure 3001, the Bankruptcy Code, or other applicable law.
Seller acknowledges, and hereby stipulates, that an order of the Bankruptcy Court may be entered without
further notice to Seller transferring the Proof of Claim to Purchaser and recognizing Purchaser as the sole
owner and holder of such claim.

        IN WITNESS WHEREOF, this Evidence of Transfer of Claim is executed on March 9, 2018.

                                                         Scott Taylor

                                                         By: Scott Taylor (Mar 13, 2018)


                                                         Name: Scott Taylor
                                                         Title: Store manager
